          Case 2:10-cr-00399-MMD-GWF Document 342 Filed 08/28/20 Page 1 of 1



 1

 2

 3

 4

 5

 6                               UNITED STATES DISTRICT COURT
 7                                       DISTRICT OF NEVADA
 8

 9   UNITED STATES OF AMERICA,                      ) Case No.: 2:10-cr-399-MMD-GWF
                                                    )
10                 Plaintiff-Appellee,              )
                                                    )
11          vs.                                     )         ORDER
                                                    )
12   PAUL WAGNER,                                   )
                                                    )
13                 Defendant-Appellant.             )
                                                    )
14                                                  )
15
            Good cause appearing therefore, it is hereby ORDERED AS FOLLOWS:
16
            Defendant Paul Wagner may have until September 30, 2020, or until 14 days after the
17
     under seal motion filed at E.C.F. No. 340 is ruled upon, if such ruling occurs before September
18
     30, 2020, to file a reply or traverse to the pending Amended Section 2255 motion.
19
            IT IS SO ORDERED.
20
                    27 2020
     Dated: August __,                                          _____________________
21
                                                         HON. MIRANDA M. DU
22                                                       United States District Judge

23

24

25

26

27

28




                                            [PROPOSED] ORDER,
                            U.S. v. PAUL WAGNER, Case No. 2:10-cr-00399-MMD-GWF
